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           9   Attorneys for Defendant
               TWITTER, INC.
          10

          11                               UNITED STATES DISTRICT COURT

          12                              NORTHERN DISTRICT OF CALIFORNIA

          13                                  SAN FRANCISCO DIVISION

          14   ALI AL-AHMED,                               Case No. 3:21-cv-08017-EMC
          15                 Plaintiff,                    STIPULATION AND [PROPOSED]
                                                           ORDER RE CORRECTING CLERICAL
          16         v.                                    ERROR IN MAY 20, 2022 ORDER
          17   TWITTER, INC.; ALI HAMAD A                  Dept.: Courtroom 5 – 17th Floor
               ALZABARAH; and AHMAD ABOUAMMO,              Judge: Hon. Edward M. Chen
          18
                             Defendants.                   Date Filed: October 13, 2021
          19                                               Trial Date: None Set
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               STIPULATION AND [PROPOSED] ORDER RE CORRECTING CLERICAL ERROR IN MAY 20, 2022 ORDER
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           1          Pursuant to Federal Rule of Civil Procedure 60(a), Defendant Twitter, Inc. and Plaintiff

           2   Ali Al-Ahmed (collectively, “the parties”) by and through their respective counsel of record,

           3   hereby jointly stipulate and request as follows:

           4          WHEREAS, on May 20, 2022, the Court issued an Order Granting Defendant Twitter’s

           5   Motion to Dismiss, Docket No. 49 (“Order”);

           6          WHEREAS, on page 9 of the Court’s Order, the Court states: “For the foregoing reasons,

           7   the Court GRANTS Twitter’s motion to incorporate by reference Exhibit 1 and 2 but DENIES

           8   the motion for Exhibits 3 – 5.”;

           9          WHEREAS, the parties agree that this appears to be a clerical error, as the Court’s Order

          10   otherwise indicates that it intended to grant Twitter’s motion with respect to Exhibits 1 – 4, and

          11   deny it only with respect to Exhibit 5. Specifically, in the Court’s discussion of Twitter’s request

          12   to incorporate Exhibits 3 and 4 (the notification lists), the Court stated as follows:

          13          These notification lists may be incorporated by reference because “the notifications
                      submitted by [Twitter] are crucial to [Al-Ahmed’s] claims that [he] never received
          14
                      notifications . . . [Al-Ahmed], again, do not raise in [his] Opposition any dispute as
          15          to the authenticity of these notifications.” Starks v. Geico Indem. Co., No. CV-15-
                      5771-MWF (PJW), 2015 WL 12942282, at *2 (C.D. Cal. Nov. 10, 2015)
          16          (incorporating by reference the notifications allegedly not received by the plaintiff).
                      Accordingly, these exhibits may be treated as part of the Complaint under the
          17          incorporation by reference doctrine.
          18   Order at 8. Thus, the Court’s Order indicates that it was granting Twitter’s request with respect to
          19   Exhibits 3 and 4. See also Order at 17 (discussing the notification lists);
          20          WHEREAS, the parties respectfully request that the Court correct the clerical error at
          21   page 9, lines 15 -16, of the Order to conform with the Court’s ruling that Twitter’s motion is
          22   granted with respect to Exhibits 1 – 4, but denied with respect to Exhibit 5 only;
          23          NOW, THEREFORE, THE PARTIES HEREBY STIPULATE AND JOINTLY
          24   REQUEST as follows:
          25          The May 20, 2022 Order shall be corrected at page 9, lines 15 - 16, of the Order, such that
          26   it reads as follows:
          27
                      “For the foregoing reasons, the Court GRANTS Twitter’s motion to incorporate by
          28          reference Exhibits 1 - 4, but DENIES the motion for Exhibit 5.”

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               STIPULATION AND [PROPOSED] ORDER RE CORRECTING CLERICAL ERROR IN MAY 20, 2022 ORDER
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           1          IT IS SO STIPULATED.

           2   Dated: June 2, 2022                                      KEKER, VAN NEST & PETERS LLP
           3

           4                                                    By:     /s/Benjamin Berkowitz
                                                                        BENJAMIN BERKOWITZ
           5                                                            KHARI J. TILLERY
                                                                        ANJALI SRINIVASAN
           6                                                            RYLEE KERCHER OLM
                                                                        YENA LEE
           7
                                                                        Attorneys for Defendant TWITTER, INC.
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           9   Dated: June 2, 2022                                      GERSTMAN SCHWARTZ LLP

          10
                                                                By:     /s/Randy E. Kleinman
          11                                                            RANDY E. KLEINMAN
          12                                                            Attorneys for Plaintiff ALI AL-AHMED
          13                                           ATTESTATION
          14          Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I attest that concurrence in the
          15   filing of this document has been obtained from the other signatories.
          16
               Dated: June 2, 2022                                    /s/Benjamin Berkowitz
          17                                                          Benjamin Berkowitz

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               STIPULATION AND [PROPOSED] ORDER RE CORRECTING CLERICAL ERROR IN MAY 20, 2022 ORDER
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           1                                         [PROPOSED] ORDER
           2            PURSUANT TO STIPULATION, IT IS HEREBY ORDERED:

           3            The May 20, 2022 Order Granting Defendant Twitter’s Motion to Dismiss, Docket No. 49

           4   (“Order”), shall be corrected at page 9, lines 15 – 16, such that it reads as follows: “For the

           5   foregoing reasons, the Court GRANTS Twitter’s motion to incorporate by reference Exhibits

           6   1 - 4, but DENIES the motion for Exhibit 5.”

           7
               Dated:
           8                                                         HON. EDWARD M. CHEN
                                                                     UNITED STATES DISTRICT COURT
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               STIPULATION AND [PROPOSED] ORDER RE CORRECTING CLERICAL ERROR IN MAY 20, 2022 ORDER
                                             Case No. 3:21-cv-08017-EMC
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